CM/ECF LIVE - U.S. District Court:oknd-Docket Report                     Page 1 of 5
 Case 4:09-cr-00043-SPF Document 436-1 Filed in USDC ND/OK on 01/06/11 Page 1 of 5


                                                                        APPEAL, LC-1, RELEASED

                                  U.S. District Court
          U.S. District Court for the Northern District of Oklahoma (Tulsa)
        ABRIDGED CRIMINAL DOCKET FOR CASE #: 4:09-cr-00043-SPF-1


Case title: USA v. Springer et al                           Date Filed: 03/10/2009
Other court case numbers: 09-5165 10th Circuit Court        Date Terminated: 04/28/2010
                           10-5101 10th Circuit


 Date Filed         #      Docket Text
 07/12/2010          400   TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                           04/22/2010 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 211 to 390). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request
                           within 21 calendar days. If a party fails to request redaction, this
                           unredacted transcript may be made electronically available to the public
                           without redaction after 90 calendar days. Any party needing a copy of the
                           transcript to review for redaction purposes may view the transcript at the
                           court public terminal at no charge or may purchase a copy from the court
                           reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating Deadline
                           (s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey Kent
                           Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                           to remove transcript access restriction (a-hc, Dpty Clk). (Entered:
                           07/12/2010)
 07/12/2010          401   TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                           04/23/2010 before Judge Stephen P Friot (Court Reporter: Tracy
                           Washbourne) (Pages: 391 to 469). NOTICE RE REDACTION OF
                           TRANSCRIPTS: A party must file a Transcript Redaction Request
                           within 21 calendar days. If a party fails to request redaction, this
                           unredacted transcript may be made electronically available to the public
                           without redaction after 90 calendar days. Any party needing a copy of the
                           transcript to review for redaction purposes may view the transcript at the
                           court public terminal at no charge or may purchase a copy from the court
                           reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating Deadline
                           (s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey Kent
                           Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010
                           to remove transcript access restriction (a-hc, Dpty Clk). (Entered:
                           07/12/2010)
 07/13/2010          402   MOTION for Writ of Error Coram Nobis by Lindsey Kent Springer (s-
                           srt, Dpty Clk) (Entered: 07/14/2010)
 07/13/2010          403   MOTION for Appointment of Counsel Regarding Motion for Writ of
                           Error Coram Nobis by Lindsey Kent Springer (s-srt, Dpty Clk) (Entered:
                           07/14/2010)




https://ecf.oknd.circ10.dcn/cgi-bin/DktRpt.pl?117567889533681-L_9999_1-1                   01/06/2011
CM/ECF LIVE - U.S. District Court:oknd-Docket Report                     Page 2 of 5
 Case 4:09-cr-00043-SPF Document 436-1 Filed in USDC ND/OK on 01/06/11 Page 2 of 5


 07/13/2010          404   BRIEF in Support of Motion (Re: 402 MOTION for Writ of Error Coram
                           Nobis ) by Lindsey Kent Springer (s-srt, Dpty Clk) (Entered:
                           07/14/2010)
 07/13/2010          405   MOTION for Leave to Exceed Page Limitation by Lindsey Kent
                           Springer (s-srt, Dpty Clk) (Entered: 07/14/2010)
 07/13/2010          406   AFFIDAVIT of Lindsey Kent Springer (titled "Declaration") as to
                           Lindsey Kent Springer (s-srt, Dpty Clk) (Entered: 07/14/2010)
 07/13/2010          407   CERTIFICATE of Service (Re: 405 MOTION for Leave to Exceed Page
                           Limitation, 402 MOTION for Writ of Error Coram Nobis, 404 Brief in
                           Support of Motion, 403 MOTION for Appointment of Counsel
                           Regarding Motion for Writ of Error Coram Nobis, 406 Affidavit ) as to
                           Lindsey Kent Springer (s-srt, Dpty Clk) (Entered: 07/14/2010)
 07/16/2010          408   MOTION for Leave to Exceed Page Limitation by Lindsey Kent
                           Springer (sdc, Dpty Clk) (Entered: 07/16/2010)
 07/16/2010          409   Second BRIEF in Support of Motion (Re: 402 MOTION for Writ of
                           Error Coram Nobis ) by Lindsey Kent Springer (With attachments) (sdc,
                           Dpty Clk) (Entered: 07/16/2010)
 07/16/2010          410   CERTIFICATE of Service (Re: 408 MOTION for Leave to Exceed Page
                           Limitation, 409 Brief in Support of Motion ) as to Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 07/16/2010)
 07/16/2010          411   RESPONSE in Opposition to Motion (Re: 405 MOTION for Leave to
                           Exceed Page Limitation, 402 MOTION for Writ of Error Coram Nobis,
                           403 MOTION for Appointment of Counsel Regarding Motion for Writ of
                           Error Coram Nobis, 408 MOTION for Leave to Exceed Page
                           Limitation ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                           (Entered: 07/16/2010)
 07/26/2010          412   RECORD on Appeal Sent to Circuit Court (Record includes: 4 volumes)
                           (Re: 348 Notice of Appeal to Circuit Court, 340 Notice of Appeal to
                           Circuit Court ) as to Lindsey Kent Springer, Oscar Amos Stilley (With
                           attachments) (s-srt, Dpty Clk) (Entered: 07/26/2010)
 07/29/2010          413   NOTICE of Change of Address by Lindsey Kent Springer, Lindsey K
                           Springer as to Lindsey Kent Springer (s-srt, Dpty Clk) (Entered:
                           07/29/2010)
 07/29/2010          414   MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof
                           transcripts by Lindsey Kent Springer (s-srt, Dpty Clk) Modified on
                           11/9/2010; Document STRICKEN per Order # 427 (tjc, Dpty Clk).
                           (Entered: 07/29/2010)
 07/29/2010          415   REPLY to Response to Motion (Re: 402 MOTION for Writ of Error
                           Coram Nobis ) by Lindsey Kent Springer (s-srt, Dpty Clk) (Entered:
                           07/29/2010)
 08/11/2010          416   MOTION for Release, MOTION for Stay of Judgment Pending Ruling
                           on Motion for Writ of Coram Nobis, MOTION for Hearing by Lindsey




https://ecf.oknd.circ10.dcn/cgi-bin/DktRpt.pl?117567889533681-L_9999_1-1                 01/06/2011
CM/ECF LIVE - U.S. District Court:oknd-Docket Report                     Page 3 of 5
 Case 4:09-cr-00043-SPF Document 436-1 Filed in USDC ND/OK on 01/06/11 Page 3 of 5


                           Kent Springer (s-srt, Dpty Clk) (Entered: 08/13/2010)
 08/13/2010          417   ***Remark: Petition for writ of mandamus filed at 10th Circuit Court.
                           Case number 10-5101 as to Lindsey Kent Springer (sam, Dpty Clk)
                           (Entered: 08/16/2010)
 08/30/2010          419   RESPONSE in Opposition to Motion (Re: 416 MOTION for Release
                           MOTION for Stay of Judgment Pending Ruling on Motion for Writ of
                           Coram Nobis MOTION for Hearing ) by USA as to Lindsey Kent
                           Springer (O'Reilly, Charles) (Entered: 08/30/2010)
 09/09/2010          420   REPLY to Response to Motion (Re: 416 MOTION for Release
                           MOTION for Stay of Judgment Pending Ruling on Motion for Writ of
                           Coram Nobis MOTION for Hearing ) by Lindsey Kent Springer (s-srt,
                           Dpty Clk) (Entered: 09/09/2010)
 09/09/2010          421   ATTORNEY APPEARANCE by Jeffrey Andrew Gallant on behalf of
                           USA (Gallant, Jeffrey) (Entered: 09/09/2010)
 09/13/2010          422   TRANSCRIPT of Proceedings (Unredacted) of Miscellaneous Hearing
                           held on 03/30/2009 before Magistrate Judge Paul J Cleary (Court
                           Reporter: Tracy Washbourne) (Pages: 1-36). NOTICE RE REDACTION
                           OF TRANSCRIPTS: A party must file a Transcript Redaction Request
                           within 21 calendar days. If a party fails to request redaction, this
                           unredacted transcript may be made electronically available to the public
                           without redaction after 90 calendar days. Any party needing a copy of the
                           transcript to review for redaction purposes may view the transcript at the
                           court public terminal at no charge or may purchase a copy from the court
                           reporter. (Re: 23 Minutes of Miscellaneous Hearing, Ruling on Motion
                           (s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s)) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                           12/20/2010 to remove transcript access restriction (a-hc, Dpty Clk).
                           (Entered: 09/13/2010)
 10/22/2010          423   ORDER from Circuit Court denying petition for writ of mandamus (Re:
                           417 Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                           10/25/2010)
 11/01/2010          424   MOTION for Release Pending Appeal, MOTION to Reconsider (Re: 377
                           Order,, Ruling on Motion(s)/Document(s), Ruling on Motion
                           (s)/Document(s), 363 Order, Ruling on Motion(s)/Document(s) ) by
                           Lindsey Kent Springer (s-srt, Dpty Clk) Modified on 11/3/2010-
                           STRICKEN PER ORDER # 426 (lml, Dpty Clk). (Entered: 11/01/2010)
 11/01/2010          425   BRIEF in Support of Motion (Re: 424 MOTION for Release Pending
                           Appeal MOTION to Reconsider ) by Lindsey Kent Springer (s-srt, Dpty
                           Clk) Modified on 11/3/2010-STRICKEN PER ORDER # 426 (lml, Dpty
                           Clk). (Entered: 11/01/2010)
 11/02/2010          426   ORDER by Judge Stephen P Friot, striking/withdrawing document(s)
                           (Re: 425 Brief in Support of Motion, 424 MOTION for Release Pending
                           Appeal MOTION to Reconsider, 377 Order,, Ruling on Motion
                           (s)/Document(s), Ruling on Motion(s)/Document(s), 363 Order, Ruling




https://ecf.oknd.circ10.dcn/cgi-bin/DktRpt.pl?117567889533681-L_9999_1-1                   01/06/2011
CM/ECF LIVE - U.S. District Court:oknd-Docket Report                     Page 4 of 5
 Case 4:09-cr-00043-SPF Document 436-1 Filed in USDC ND/OK on 01/06/11 Page 4 of 5


                           on Motion(s)/Document(s) ) (Documents Terminated: 424 MOTION for
                           Release Pending Appeal MOTION to Reconsider, 425 Brief in Support
                           of Motion ) as to Lindsey Kent Springer (cds, Dpty Clk) (Entered:
                           11/02/2010)
 11/08/2010          427   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s):
                           #405, 408 granted, #402, 403, 416 denied, striking/withdrawing
                           document(s) (Re: 405 MOTION for Leave to Exceed Page Limitation,
                           402 MOTION for Writ of Error Coram Nobis, 403 MOTION for
                           Appointment of Counsel Regarding Motion for Writ of Error Coram
                           Nobis, 408 MOTION for Leave to Exceed Page Limitation, 416
                           MOTION for Release MOTION for Stay of Judgment Pending Ruling on
                           Motion for Writ of Coram Nobis MOTION for Hearing, 414 MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof transcripts, 409
                           Brief in Support of Motion ) (Documents Terminated: 414 MOTION to
                           Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof transcripts ) as
                           to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 11/08/2010)
 11/17/2010          428   NOTICE OF APPEAL to Circuit Court (Re: 426 Order,
                           Striking/Withdrawing Document(s),,, Striking/Withdrawing Document
                           (s), 427 Order, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                           Document(s),,, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                           Document(s),,, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                           Document(s),,, Ruling on Motion(s)/Document(s), Striking/Withdrawing
                           Document(s), ) as to Lindsey Kent Springer (s-srt, Dpty Clk) (Entered:
                           11/19/2010)
 11/19/2010          429   PRELIMINARY RECORD Sent to Circuit Court (Re: 428 Notice of
                           Appeal to Circuit Court, ) as to Lindsey Kent Springer (With
                           attachments) (s-srt, Dpty Clk) (Entered: 11/19/2010)
 11/19/2010          430   APPEAL NUMBER INFORMATION from Circuit Court assigning
                           Case Number 10-5156 (#428) (Re: 428 Notice of Appeal to Circuit
                           Court, ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                           11/22/2010)
 12/20/2010          431   TRANSCRIPT ORDER FORM (Transcripts are not necessary or are
                           already on file ) (Re: 428 Notice of Appeal to Circuit Court, ) as to
                           Lindsey Kent Springer (s-srt, Dpty Clk) (Entered: 12/20/2010)
 12/20/2010          432   DESIGNATION of Record on Appeal (Re: 428 Notice of Appeal to
                           Circuit Court, ) as to Lindsey Kent Springer (s-srt, Dpty Clk) (Entered:
                           12/20/2010)
 12/21/2010          433   MINUTE ORDER by Court Clerk, Having reviewed the docket entry
                           and/or PDF for Dkt # 432, the Court has determined that the designated
                           docket sheet was not attached to the pleading. Attorney Jerold Barringer
                           is hereby directed to re-file an Amended Designation of Record on
                           Appeal with the designated docket sheet attached within 24 hours. (Re:
                           432 Designation of Record on Appeal ) as to Lindsey Kent Springer (tjc,
                           Dpty Clk) (Entered: 12/21/2010)
 12/28/2010          434   LETTER from Circuit Court regarding 1st request for record (Re: 428




https://ecf.oknd.circ10.dcn/cgi-bin/DktRpt.pl?117567889533681-L_9999_1-1                   01/06/2011
CM/ECF LIVE - U.S. District Court:oknd-Docket Report                     Page 5 of 5
 Case 4:09-cr-00043-SPF Document 436-1 Filed in USDC ND/OK on 01/06/11 Page 5 of 5


                           Notice of Appeal to Circuit Court, ) as to Lindsey Kent Springer (sam,
                           Dpty Clk) (Entered: 12/28/2010)
 01/03/2011          435   Amended DESIGNATION of Record on Appeal (Re: 428 Notice of
                           Appeal to Circuit Court, ) as to Lindsey Kent Springer (sdc, Dpty Clk)
                           (Entered: 01/04/2011)




https://ecf.oknd.circ10.dcn/cgi-bin/DktRpt.pl?117567889533681-L_9999_1-1                  01/06/2011
